                                                                                Case 3:18-cv-05131-WHA Document 46 Filed 03/25/19 Page 1 of 1



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                                                                          5                          IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   LOWELL and GINA SMITH, husband and
                                                                         10   wife, and WILLIAM KIVETT, individually,
                                                                              and on behalf of others similarly situated,                       No. C 18-05131 WHA
                                                                         11
United States District Court




                                                                                            Plaintiffs,
                               For the Northern District of California




                                                                         12     v.                                                              ORDER VACATING
                                                                         13                                                                     DISCOVERY DISPUTE
                                                                              FLAGSTAR BANK, FSB, a federal savings                             HEARING AND DENYING
                                                                         14   bank, and DOES 1–100, inclusive,                                  AS MOOT DISCOVERY
                                                                                                                                                LETTER BRIEFS
                                                                         15                 Defendants.
                                                                                                                             /
                                                                         16
                                                                         17          The Court has received plaintiffs’ discovery letter brief to cancel today’s discovery

                                                                         18   dispute hearing (Dkt. No. 45). Today’s hearing is hereby VACATED. The discovery letter briefs

                                                                         19   filed by plaintiffs (Dkt. No. 42) and defendant (Dkt. No. 44) are accordingly DENIED AS MOOT.

                                                                         20          IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: March 25, 2019.
                                                                                                                                 WILLIAM ALSUP
                                                                         23                                                      UNITED STATES DISTRICT JUDGE

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